Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 1 of 13
Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 2 of 13
Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 3 of 13
Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 4 of 13
Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 5 of 13
Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 6 of 13
Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 7 of 13
Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 8 of 13
Case 08-14631-GMB   Doc 602     Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                              Document      Page 9 of 13
Case 08-14631-GMB   Doc 602 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                           Document    Page 10 of 13
Case 08-14631-GMB   Doc 602 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                           Document    Page 11 of 13
Case 08-14631-GMB   Doc 602 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                           Document    Page 12 of 13
Case 08-14631-GMB   Doc 602 Filed 08/26/08 Entered 08/26/08 10:14:07   Desc Main
                           Document    Page 13 of 13
